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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA



 SMARTMATIC USA CORP.,
 SMARTMATIC INTERNATIONAL
 HOLDING B.V., and SGO
 CORPORATION LIMITED,

                             Plaintiffs,
                      v.                       Case No. 22-cv-0098-WMW-JFD
 MICHAEL J. LINDELL and MY
 PILLOW, INC.,

                             Defendants.


DECLARATION OF MICHAEL E. BLOOM IN SUPPORT OF SMARTMATIC’S
    OPPOSITION TO DEFENDANTS’ SECOND MOTION TO COMPEL

I, Michael E. Bloom, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

      1.     I am over the age of 18, I am competent to make this declaration, and I have

personal knowledge of the facts stated herein. These facts are true to the best of my

knowledge, information, and belief, and if called upon to testify as a witness, I could and

would testify competently to them.

      2.     I am a partner at the law firm Benesch, Friedlander, Coplan & Aronoff, LLP,

and I represent Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V.,

and SGO Corporation Limited (“Smartmatic”) in the above-captioned lawsuit.

      3.     Attached as Exhibit A is a true and correct copy of Smartmatic’s Complaint

in Smartmatic USA Corp. v. Fox Corp., No. 151136/2021 (N.Y. Sup. Ct.).
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       4.     Attached as Exhibit B is a true and correct copy of Smartmatic’s Complaint

in Smartmatic USA Corp. v. Herring Networks, Inc., No. 1:21-cv-02900 (D.D.C.).

       5.     Attached as Exhibit C is a true and correct copy of Smartmatic’s Complaint

in Smartmatic USA Corp. v. Newsmax Media, Inc., No. N21C-11-028 (Del. Super.).

       6.     Attached as Exhibit D is a true and correct copy of Smartmatic’s Complaint

in Smartmatic USA Corp. v. Powell, No. 21-cv-02995 (D.D.C.).

       7.     Attached as Exhibit E is a true and correct copy of a January 9, 2023 letter

from Matthew Eslick to Michael Bloom.

       8.     Attached as Exhibit F is a true and correct copy of Smartmatic’s

Supplemental Answers and Objections to Defendants’ First Set of Interrogatories.

       9.     Attached as Exhibit G is a true and correct copy of Smartmatic’s Second

Supplemental Answers and Objections to Defendants’ First Set of Interrogatories.

I declare under penalty of perjury under the laws of the United States that the foregoing is
true and correct.



                                           ____________________________________
                                           Michael E. Bloom


Executed on July 18, 2023.




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